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                                  UNiTED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERESY




      ZBIGNIEW CICHY,                              ORDER

                     Defendant




             THIS MATTER having been opened to the Court by Howard 13. Brownstein. Attorney for
      Zbignew Cichv asking for an Order amendmg the de fndaits bail status by allowing Mr. Cichy to
      he permitted to leave his house for two (2) necessary car repairs as authonzed by United States
      Pretral and to allow Mr. Ciehv to travel to Brooklyn, New York to visit his wfè Anna Nowak at
      MDC Brooklyn once a week. Matthew Beck. AUSA and Dan Mime of United States Pretrial
      Services having no objection-md for good cause shoj
             IT IS on this         day                               I
             ORDERE1) that Ms. Cichy be permitted to leave his house for two (2 necessary car repairs
      as authorized by United States Pretrial and to allow Mr. Cichy to travel to Brooklyn, New York to
      visit his wfo Anna Nowak at MDC Brooklyn once a week: and it is further
             ORDEREI) all other conditions of batl will remain the same.


      Consented to by:



                                   /
     FrC_

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